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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 NEURAL MAGIC, INC.,

        Plaintiff,
                                                    Civil Action No. 1:20-cv-10444-DJC
                       v.

 META PLATFORMS, INC. and
 ALEKSANDAR ZLATESKI,

        Defendants.



                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants Meta Platforms, Inc. and Dr. Aleksandar Zlateski respectfully move for

summary judgment on Plaintiff Neural Magic, Inc.’s claims of trade secret misappropriation under

the Massachusetts Uniform Trade Secrets Act and the Defend Trade Secrets Act (Counts I & II),

Chapter 93A unfair competition (Count III), breach of contract (Count IV), and tortious

interference (Count V). Defendants additionally move for summary judgment on Plaintiff’s

diminution of enterprise value and reasonable royalty damages theories.

       In support of this motion, Defendants submit an accompanying memorandum, their Local

Rule 56.1 Statement of Material Facts, and supporting declarations, which Defendants are

concurrently seeking leave to file under seal. Defendants will further submit any additional

briefing and argument permitted or requested by the Court.
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Dated: July 15, 2022                               Respectfully submitted,

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                             LOCAL RULE 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(a)(2), I hereby certify that counsel for Defendants has conferred
with counsel for Plaintiff in a good faith effort to resolve or narrow the issues raised in this motion.
Plaintiff opposes this motion.

                                                       /s/ Christopher W. Henry
                                                       Christopher W. Henry




                                  CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document, which was filed with the Court on July 15,
2022 through the CM/ECF system, will be sent electronically to all registered participants as
identified on the Notice of Electronic Filing.

                                                       /s/ Christopher W. Henry
                                                       Christopher W. Henry




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